Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 1 of 11 PageID: 38



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
____________________________________
KEVIN MONTE                            :
349 Barton Run Boulevard               :
Marlton, NJ 08053                      :    CIVIL ACTION
                                       :
              Plaintiff,               :    No. 1:19-CV-17083-JHR-AMD
        v.                             :
                                       :
7-ELEVEN, INC.                         :
3200 Hackberry Road                    :    JURY TRIAL DEMANDED
Irving, TX 75063                       :
                                       :
              Defendant.               :
____________________________________:

                     FIRST AMENDED CIVIL ACTION COMPLAINT

       Plaintiff, by and through his undersigned counsel, hereby avers as follows:

                                      I. INTRODUCTION


       1.      This action has been initiated by Kevin Monte (hereinafter referred to as

“Plaintiff,” unless indicated otherwise) for violations of the Fair Labor Standards Act ("FLSA" -

29 U.S.C. 201, et. seq.), the Americans with Disabilities Act, as amended (“ADA” – 42 U.S.C.

§§ 12101 et seq.), the New Jersey Law against Discrimination, and other applicable state law(s).

Plaintiff asserts herein that he was unlawfully terminated and not paid overtime compensation in

accordance with applicable state and federal laws. As a direct consequence of Defendant’s

actions, Plaintiff seeks damages as set forth herein.

                               II. JURISDICTION AND VENUE

       2.      This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff’s

claims because they arise under a federal law - the FLSA. There would independently be

jurisdiction of this Court under 28 U.S.C. § 1332 because there is complete diversity of Parties.

In particular, Plaintiff is a citizen of New Jersey and Defendant is headquartered in Texas and
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 2 of 11 PageID: 39



not incorporated in New Jersey (making it a non-citizen of New Jersey). And Plaintiff is entitled

to and seeking in excess of $75,000.00, exclusive of costs and interest.

        3.       This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this State and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny.

        4.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

        5.       Plaintiff is proceeding herein under the ADA after properly exhausting his

administrative remedies by timely filing a Charge of Discrimination with the Equal Employment

Opportunity Commission (“EEOC”) and by filing the instant lawsuit within ninety (“90”) days

of receiving a notice of dismissal and/or right to sue letter from the EEOC.

                                            III. PARTIES

        6.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.       Plaintiff is an adult individual, with an address as set forth in the caption.

        8.       7-Eleven Inc. (hereinafter “Defendant”) is a publicly-traded corporation

overseeing or operating thousands of convenience stores internationally.

        9.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.




                                                    2
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 3 of 11 PageID: 40



                                 IV. FACTUAL BACKGROUND

        10.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.     Plaintiff was hired by Defendant in or about early October of 2018. In total,

Plaintiff was employed with Defendant for approximately 9 months in total until being

terminated (discussed infra).

        12.     Plaintiff was hired as a “Field Consultant Trainee” with the expectation that he

would be trained in (and become) a Field Consultant.

        13.     From in or about early October of 2018 through late December of 2018, Plaintiff

was physically assigned to Defendant’s Mt. Laurel, New Jersey location. This was generally a

training facility where Plaintiff trained.

        14.     After an approximate 4-month period of training, on or about January 1, 2019,

Plaintiff was assigned to a corporate-owned convenience store of Defendant in Pitman, New

Jersey (hereinafter “the Pitman location”).

        15.     Once at the Pitman location, Plaintiff was still referred to as a Field Consultant

and he reported to Greg Campanella (“Campanella”). Campanella was a “Trainer” for Defendant

who functioned as Plaintiff’s direct manager.

        16.     In or about February of 2019, Matthew Tomlinson (“Tomlinson”) became

Plaintiff’s Regional Manager. He had upon information and belief been a relatively

inexperienced manager for Defendant who transferred from Western Pennsylvania. In particular,

Tomlinson had previously worked as a non-supervisory capacity and as a merchandizer for

Defendant until late 2018.




                                                  3
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 4 of 11 PageID: 41



                    [A] Plaintiff was unlawfully not paid overtime compensation

        17.     Understanding Defendant’s business model and operations in general is important

to understanding why Defendant appears to systematically violate state and federal overtime

laws (albeit this is an individual action, not a class or collective-action).

        18.     Defendant has more than 60,000 locations in more than 15 Countries, including

throughout the United States. It is one of the world’s largest franchise companies. And most of

Defendant’s locations are licensed to franchisees, while thousands do remain corporate-owned.

        19.     Plaintiff was not employed through a franchise, but rather, through Defendant as a

corporate entity. The goal of Defendant is to often use people like Plaintiff to go from location to

location to get the store looking clean, presentable, sanitary, and to cut costs, maximize profits,

and then to quickly license the store to a franchisee who will buy / acquire the store generating

more passive revenue for Defendant. While working for Defendant, Plaintiff was in training to

become this management employee who would ultimately manage stores in the above manner.

        20.     Defendant’s business model however is to exploit people it trains and hires at all

levels, often elevating them with little experience or minimal training. It does so to pay them

cheaper, to operate with a skeleton crew, and to quickly transition locations to franchisees

regardless of whether it has high turnover of its own corporate employees (or the employee

exploited).

        21.     Normally, employees hired as Field Consultants such as Plaintiff are trained for

up to a year. But Plaintiff was fast-tracked and trained only for approximately 4 months because

– as represented to him – he had the qualities and demonstrated ability to succeed on an

expedited basis.




                                                   4
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 5 of 11 PageID: 42



       22.    Once placed at the Pitman location, Plaintiff was in essence in training to be a

manager (but still called a Field Consultant). In this continued training capacity, Plaintiff was

paid at a salary of $75,000.00 per annum.

       23.    Beginning in January of 2019 and in conjunction with his placement at the Pitman

location, Plaintiff often worked 7 days per week and he averaged 60-90 hours per week of work.

Plaintiff was never once paid for overtime worked beyond 40 hours per week.

       24.    Plaintiff was however at all times relevant to his work at the Pitman location a

non-exempt employee. He could not possibly meet any exemption, let alone the “executive

exemption” of state or federal law. Even though he was paid by salary, his “primary duties” were

not management (even if that was the ultimate goal when he was fully trained).

       25.    Plaintiff estimates herein and asserts that at least 80-85% of his weekly work was

that of a laborer and that he only spent 1% - 19% of his job per week performing any work that

could be even arguably construed as management. By way of specificity:

              (1) Defendant was exclusively motivated to make its stores look extremely
                  profitable, having very low overhead, and operating with exceedingly minimal
                  employee compensation. Thus, Defendant solely sought to create the outward
                  projection of extreme profitability, cleanliness, and store presentation
                  regardless of whether it could be operated properly to make it easier to sell or
                  be acquired by a licensee or franchisee.

              (2) The above-referenced motivation created and perpetuated a system whereby
                  Defendant would essentially place someone such as Plaintiff with minimal
                  training under the guise of continued training to exploit and work tremendous
                  hours in a salaried capacity often 7 days per week with little or no other staff
                  at times just to create the profitability appearance with low employee
                  overhead.

              (3) In working 60-90 hours per week, Plaintiff had 5 or 6 other employees who
                  worked in the facility (but not at the same time). Plaintiff would create a
                  schedule, but the schedule as to permitted headcount was dictated to him by
                  his management as only permitting him to include 1 or 2 people at most at
                  varying times. Thus, Plaintiff did not have any meaningful discretion in
                  creating the schedule based upon his actual store or business needs.



                                               5
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 6 of 11 PageID: 43




                 (4) Because Plaintiff was only permitted to schedule 1 person per shift or
                     sometimes 2 people on a shift, Plaintiff spent nearly 80% or more of his
                     workdays and workweeks mopping floors, cleaning windows or other areas,
                     unloading merchandise, stocking shelves, working as a cashier, making food,
                     taking orders, replenishing drinks, coffee or other supplies, lifting and moving
                     equipment or supplies, answering customer inquiries, and significant other
                     non-supervisory labor work.

                 (5) Plaintiff would only rush at times to count cash and make deposits when not
                     performing non-supervisory or labor-intensive work. Plaintiff never
                     terminated employees, did not have authority to give pay increases, and on 1
                     occasion when he asked if an employee (Sam Ross) could be promoted to help
                     him and given support the request was denied. In order for Plaintiff to
                     schedule any type of contractor to come to the store (such as power-washing
                     the outside of the store), it had to be approved.

                 (6) Plaintiff did not have significant discretion, did not make operational
                     decisions on his own, and was at all times considered a Field Consultant “in
                     training” with a trainer overseeing all aspects of his work.

        26.      In sum, even if Defendant were to claim Plaintiff was functionally some type of

team leader, foreman, assistant manager or overall manager, Plaintiff was: (1) referred to as a

Field Consultant; (2) only in training; (3) working under the supervision of a trainer; (4) had no

meaningful discretion; (5) did not perform primary duties of management; and (6) worked 60-90

hours per week functionally filling the role of multiple other employees who would have

otherwise been used to perform labor.1




1
  See e.g. Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1269 (11th Cir. 2008)(affirming $35,000,000 verdict
against the defendant because a class of store managers performed primary duties of non-management including
stocking, cashier work, etc…); Hickton v. Enter. Rent-A-Car Co. (In re Enter. Rent-A-Car Wage & Hour Empl.
Practices Litig.), 2012 U.S. Dist. LEXIS 136252 (W.D. Pa. 2012)(denying summary judgment and explaining a jury
could readily conclude employee titled “manager” who performed mostly sales and other labor had “primary duties”
other than management); Marshall v. Coastal Group Management, 1980 U.S. Dist. LEXIS 11704 (D.N.J.
1980)(reaffirming the denial of summary judgment as to managers explaining they spent most of their time prepping
food, cooking, handling customers, working the cash register and cleaning finding assertions of the “executive
exemption” to be “untenable”).




                                                        6
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 7 of 11 PageID: 44



            27.      Plaintiff was a non-exempt employee working 60-90 hours per week from

January of 2019 through his termination from employment in June of 2019. Plaintiff is owed in

excess of $15,000.00 in unpaid overtime, plus liquidated damages.2

                     [B] Plaintiff was unlawfully terminated from Defendant

            28.      Plaintiff had received positive feedback while working proverbially to the bone

up to 7 days per week from January 2019 through May of 2019 while under the supervision of

Campanella and Tomlinson.

            29.      Plaintiff did not receive any discipline from January 2019 through May of 2019.

            30.      Plaintiff’s location wherein he was a Field Consultant was identified as very high

performing, and Plaintiff in fact received several corporate awards for success related to his

location in Pitman, New Jersey.

            31.      The exploitation of Plaintiff though was taking a very serious toll on him. As a

result, in the timeframe of May / June 2019, Plaintiff talked with both Campanella and

Tomlinson. He specifically informed them that he suffered from an Anxiety Disorder, got

medical treatment, and took medication.


2
    See e.g. Solis v. Min Fang Yang, 345 Fed. Appx. 35 (6th Cir. 2009)(Affirming award of liquidated damages explaining "under the Act,
    liquidated damages are compensation, not a penalty or punishment, and no special showing is necessary for the awarding of such
    damages. Rather, they are considered the norm and have even been referred to by this court as mandatory."); Gayle v. Harry's Nurses
    Registry, Inc., 594 Fed. Appx. 714, 718 (2d Cir. 2014)(Affirming award of liquidated damages explaining there is an automatic
    "presumption" of liquidated damages and "double damages are the norm, single damages the exception," as the burden to avoid
    liquidated damages is a "difficult burden."); Haro v. City of Los Angeles, 745 F.3d 1249 (9th Cir. 2014)(Affirming award of liquidated
    damages explaining they are the "norm" and "mandatory" unless the employer can establish the very "difficult burden" of subjective
    and objective attempts at FLSA compliance); Chao v. Barbeque Ventures, LLC, 547 F.3d 938, 942 (8th Cir. 2008)(Affirming award of
    liquidated damages explaining that the employer mistakenly argues its non-compliance was not willful, misunderstanding the high
    burden to show affirmative steps of attempted compliance and research of the FLSA and separately that its diligence and belief in non-
    payment of overtime was also objectively reasonable.); Chao v. Hotel Oasis, Inc., 493 F.3d 26 (1st Cir. 2007)(Affirming award of
    liquidated damages explaining that they will always be considered the "norm" in FLSA cases); Lockwood v. Prince George's County,
    2000 U.S. App. LEXIS 15302 (4th Cir. 2000)(Affirming award of liquidated damages explaining they are the "norm" and that an
    employer may not take an ostrich-like approach and refuse to research its obligations under the FLSA and to objectively explain why it
    failed to comply with the FLSA); Uphoff v. Elegant Bath, Ltd., 176 F.3d 399 (7th Cir. 1999)(Reversing the district court for not
    awarding liquidated damages, as doubling unpaid overtime is the rule, not an exception); Nero v. Industrial Molding Corp., 167 F.3d
    921 (5th Cir. 1999)(Affirming award of liquidated damages, as there is a presumption of entitlement to liquidated damages which are
    the norm).



                                                               7
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 8 of 11 PageID: 45



       32.     The purpose in Plaintiff informing this management of his health and treatment

was twofold: (1) Plaintiff believed that he would not be discriminated against in light of his

demonstrated accomplishments and work ethic; and (2) to request a medical accommodation

discussed below.

       33.     Plaintiff explained to Campanella and Tomlinson that he was working up to 7

days per week, working with barebones staff performing every task in the store, and that his

anxiety disorder was being significantly exacerbated. Plaintiff asked them to consider giving the

store some more support, helping with better training, and hopefully lessening Plaintiff’s work

hours all to alleviate his health complications.

       34.     Following Plaintiff’s health-related discussion above, he was demeaned, subjected

to significant animosity, referred to as not a good fit, and then terminated within less than 2

months for supposedly having inventory shortages.

       35.     The rationale of alleged inventory shortages was a complete pretext as: (1) it was

not reasonably attributable to Plaintiff; (2) Plaintiff was only in training; (3) Campanella had

previously joked about how he regularly took food or other items from shelves at will in front of

Tomlinson who did not care that Campanella did so; and (4) many locations of Defendant have

varying inventory shortages (including before Plaintiff even worked there) where individuals are

not terminated for same.

       36.     Plaintiff was terminated because of his health conditions and/or because he was

perceived to show weakness by requesting accommodations in his workload. These actions

constitute unlawful discrimination and retaliation.




                                                   8
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 9 of 11 PageID: 46



                                              Count I
                      Violations of the Fair Labor Standards Act ("FLSA")
                             (Failure to Pay Overtime Compensation)

        37.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        38.      Plaintiff was not properly paid for all owed overtime as explained supra. And

such actions constitute violations of the Fair Labor Standards Act (“FLSA”).

                                             Count II
                        Violations of the New Jersey Wage and Hour Law
                            (Failure to Pay Overtime Compensation)

        39.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        40.      Plaintiff was not properly paid for all owed overtime as explained supra. And

such actions constitute violations of the New Jersey Wage and Hour Law.

                                             Count III
              Violations of the New Jersey Law against Discrimination (“NJ LAD”)
                              ([1] Discrimination; and [2] Retaliation)

        41.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        42.      Plaintiff was terminated because of his perceived, actual or record-of health-

related conditions and/or disclosures.

        43.      Plaintiff was terminated because of his requested medical accommodations, as

explained supra.

        44.      These actions of discrimination and retaliation as aforesaid constitute violations of

the NJ LAD.




                                                   9
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 10 of 11 PageID: 47



                                          Count IV
            Violations of the Americans with Disabilities Act, as amended (“ADA”)
    ([1] Actual/Perceived/Record of Disabilities Discrimination; [2] Retaliation; [3] Hostile
                                     Work Environment)

         45.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

 full.

         46.     Plaintiff reasserts each and every allegation from Count III of this Complaint, as

 such actions constitute identical violations of the ADA.

         47.     Therefore, Plaintiff believes and avers he was subjected to a hostile work

 environment and ultimately terminated from Defendant because of: (1) his known and/or

 perceived health condition; (2) his record of impairment; and/or (3) in retaliation for requesting

 and/or utilizing reasonable medical accommodations.

         WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

         A.      Defendant is to promulgate and adhere to a policy prohibiting overtime and wage

 violations, as well as discrimination and retaliation;

         B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

 whole for any and all pay and benefits Plaintiff would have received had it not been for

 Defendant’s wrongful actions, including but not limited to all owed wages, overtime, past and

 future lost earnings, benefits, pension or other employee perks, and other applicable

 compensation;

         C.      Plaintiff is to be awarded actual damages to which he is equitably or legally

 entitled beyond those already specified herein;

         D.      Plaintiff is to be awarded liquidated and punitive damages as permitted by

 applicable laws;




                                                   10
Case 1:19-cv-17083-JHR-AMD Document 10 Filed 10/23/19 Page 11 of 11 PageID: 48



       E.       Plaintiff is to be accorded other equitable relief as the Court deems just, proper,

 and appropriate;

       F.       Plaintiff is to be awarded the costs and expenses of this action and a reasonable

 attorney’s fees if permitted by applicable law; and

       G.       Plaintiff is permitted to have a trial by jury.


                                                        Respectfully submitted,

                                                        KARPF, KARPF & CERUTTI, P.C.

                                                        /s/ Andrew R. Olcese
                                                        Timothy S. Seiler, Esq.
                                                        Andrew R. Olcese, Esq.
                                                        3331 Street Road
                                                        Building 2, Suite 128
                                                        Bensalem, PA 19020
                                                        (215) 639-0801
 Dated: October 23, 2019




                                                   11
